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                                                                                                           R2021026278
                                                                                                             KAREN A. STUKEL
          WARRANTY DEED                                                                                  WILL COUNTY RECORDERt
          GENERAL
             ee                                                                                                RECORDED ON
          Ne                                                                                             03/08/2021\ 01:38:30m4 PM
                                                                                                         RECORDING, FEES: 42.00'
                      -y                                                                                  IL. RENTAL. HSNG:: 9.00,
           PREPARED BY:        -                                                                      CONSIDERATION: 153,750.00
           Millrock Investment Fund |,éLLC       --                                                    orienta|phiaits BSaVtapo™
                                                                                                                           a
           2100 W. Pleasant
           get
           Pleasantt Grove, UT 84062
                                            Bt
                    mg : GroveI Blvd. Ste. 200                                                          belgesel           a
                                                                                                          __ ATE TAX: 154.10
                                                                                                                 PAGES:33
                                                                                                                    KAK

           SEND>SUBSEQUENT     en: TAXcBILLS5
           ANDyWHEN   a4 RECORDED MAIL TO:
           Millrock Investment Fund 1, LLC
                                    Blvd., Ste. 200
              Ee W. Pleasantt GroveLs
           2100
           Pleasantt Grove, UT 840622

           File>No.: 304613NCT-77
              ;                       )
                                          Ml  is'
                                           greet
                                                          WARRANTY DEED


          THIS INDENTURE, made on the al day of March, 2021, by andiabetween1 MILLROCKpee   INVESTMENT   7
          FUND 1, LLC, a Utah limited liability companyJ (“Grantor”), andi KARMANNi KASTEN1LLC, a Colorado
          limited liability company, as to a 3.0241% interesttias a tenant in common,, whose address 5
                                                                                                     is 326 Main Street.

          Sterling, CO 80751 (“Grantee”).




                                                            WITNESSETH:

          That   Grantor, in consideration of the sum of Ten Dollars; ($10.00)) and other good!and valuable consideration, the
           paral Gearus
                                                                                  a0      -
          receipt of which is hereby acknowledged, does by these presents:SELL AND CONVEY A 3.0241% INTEREST
          AS A TENANT IN COMMON unto said Grantee, its successors and| assigns, the lot ofland lying, being, and
          situated in the County of Will, State ofIllinois, and more fully5 described
                                                                                   bs on Exhibit1 “A”, attached hereto and
          incorporated herein by reference, together with all| buildings, facilities5 and other improvements, located thereon.


                                                            ay
          And the Grantor, for itself, and its successors, does;covenant, promise and| agree,5to and with the Grantee, its
                                                                                    -
          successors and assigns, that it has not done or suffered to be done, anything whereby the said premises hereby
          granted are, or may be, in any manner encumberedBoa   or charged, except as; herein recited, and that the said
          premises, against all persons lawfully claiming, or to claim1the same, by through1 or under, it will warrant and

          defend.

          SUBJECT
          wwere     ef All
                  TO:   ht 2021 Real Estate taxesi; and all taxessod                         thereto.
                                                                  and assessments5subsequentporn


          SUBJECT TO: All covenants, easements, and restrictions of record or apparent.
        Case 2:23-cv-00936-AMA-CMR                    Document 119-2                   Filed 02/27/25              PageID.933       Page
                                                            3 of 4




                                                                                                   LLC
                                                                       MILLROCK JNVESTMENT FUND 1,


                                                                                   ‘




                 STATE OF UTAH

                 COUNTY OF UTAH4
                                                                                                        ex Meat Invectment Fund
                 On this ge9 day of March, 2021, personally before me appeared Kevin Long, Manager of Millrock; Investment Fund
                 Orthos) AAV oF wire, cue1,Detour                                                      ned that caid dncument was
                 1, LLC, who proven on the basis ofsatisfactory evidence is the Manager of said entity and that said document was
                 110. who proven up wie 19 vs 2entity by authority of the articles of organization
                 signed by him/her on behalf of said
                                                                                                 sian andine aneratino agreement,

                 signed Dy mimvner vu venal   .’ sued
                                                                                                      andor operating agreement,
                                   to me      said }company executed the same.
                 and acknowledged 1      that




                                                                      Not      i         -
                                                                      Residing In: GACT   UAE GT, UT
                                                                      Commission Expires: 92/9      - Zozy




                                                                                   (@) NOTARY
                                                                                         PUBLIC-
                                                                                            STATE
                                                                                              OF
                                                                                                 BRENT ROLAND SMITH
                                                                                               UTAH
                                                                                             ‘sj COMMISSIONS 711179

                                                                                               COMM. EXP. 03-19-2024




                                                                         Nd
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MB ba




                                                                 Naperville
Bi




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                                                                                                   MILLCREEK-GRANT000056
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                                                EXHIBIT “A”

                                          LEGAL DESCRIPTION

         PARCEL I:

          LOT 26 IN NAPERVILLE ACM AND DOG HAUS RESUBDIVISION, PART OF THE EAST
          1/2 OF SOUTHEAST 1/4 OF SECTION 4, TOWNSHIP 37 NORTH, RANGE 9 EAST OF THE
         THIRD PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT THEREOF RECORDED
         JULYpases
                2, 2020 AS DOCUMENT NUMBER R2020-52192, IN WILL COUNTY, ILLINOIS.


         PARCEL 2:

         NON-EXCLUSIVE EASEMENT FOR THE BENEFIT OF PARCEL | CREATED AND
         SHOWN ON THE PLAT OF NAPERVILLE CROSSINGS RECORDED AS DOCUMENT
         R2004-90897 FOR VEHICULAR AND PEDESTRIAN TRAFFIC ON, OVER, THROUGH,
         ALONG AND ACROSS ALL AREAS MARKED “INGRESS AND EGRESS EASEMENT”
         ON SAID PLAT.

         PARCEL 3:

        NON-EXCLUSIVE EASEMENT FOR THE BENEFIT OF PARCEL | AS CREATED BY
        DECLARATION OF EASEMENTS, COVENANTS AND RESTRICTIONS RECORDED AS
        DOCUMENT R2004-395994S AMENDED AND RESTATED BY AMENDMENT AND
        RESTATEMENT OF DECLARATION OF EASEMENTS, COVENANTS AND
        RESTRICTIONS RECORDED AS DOCUMENT R2004-108477 FOR VEHICULAR AND
        PEDESTRIAN TRAFFIC, PARKING, STORM WATER DISCHARGE AND DETENTION
        POND AND UTILITIES ALL AS SET FORTH THEREIN.

        Permanent Real Estate Index Number: 07-01-04-410-069-0000



        Property Address: 2975 Showplace Dr., Naperville, IL 60564




                                                                      MILLCREEK-GRANT000057
